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            USAA
            FEDERAL
            SAVINGS
            BANK




                                                                                                                                    PAGE             1
     BRYANT E SEWALL
     PO BOX 289
     LITTLE ELM TX 75068-0289


                                                                                                                      0
                                                                                                                     11

          ACCOUNT NUMBER                                                  ACCOUNT TYPE                                              STATEMENT PERIOD

           01846-4521-2                                       USAA CLASSIC CHECKING                                               0 9 / 1 1 / 1 9 - 10/11/19

                               NO OF                                                        TOTAL AMOUNT                  SERVICE             BALANCE THIS
          BALANCE              DEBITS          TOTAL AMOUNT                 NO. OF
       LAST STATEMENT           PAID          OF DEBITS PAID                 DEP          OF DEPOSITS MADE                CHARGES               STATEMENT
            2,995.88                   8                 1,833.32                   3                     437.37                 .00                     1,599.93
              Please examine immediately and report if incorrect. If no report is received within 60 days, the account will be considered correct.


                                                                                 TOTAL                                                 TOTAL
                                                                        NONSUFFICIENT FUNDS (NSF)                                  OVERDRAFT (OD)
                                                                                  FEES                                                  FEES
                   THIS STATEMENT                                                                           0.00                                           0.00
              THIS YEAR'S STATEMENTS                                                                       87.00                                           0.00
              Note: Fee reversals/refunds made by USAA will not reduce the totals on this chart.




         DEPOSITS AND OTHER CREDITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     09/30         428.83 ACH CREDIT              100119
                          VACP TREAS 310   XXVA BENEF ***********3600
     10/11           8.53 ATM SURCHARGE REBATE
     10/11           0.01 INTEREST PAID

         OTHER DEBITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     09/16         328.46 ACH DEBIT                091619
                           USAA P&C INT      AUTOPAY    ***********0452
     09/16         643.53 ACH PAYMENT
                           TRNSFR TO LOAN 21001000000000001082050814
     09/18         203.00 ATM DB NONLOCAL          091719    6011091719
                           D 314200 NW 36 ST         MIAMI        FL
     09/18         308.59 ATM DB NONLOCAL          091819    6011091819
                           000009902583ROYAL BANK OFBAHAMAS
     09/18          10.00 ACH DEBIT                091819
                           PAYPAL            INST XFER *********** INC
     10/02            1.29 ACH DEBIT               100219
                           PAYPAL            RETRY PYMT ***********OGLE
     10/02         328.46 ACH DEBIT                100219
                           USAA P&C INT      AUTOPAY    ***********0452
     10/10            9.99 ACH DEBIT               101019
                           PAYPAL            INST XFER ***********OGLE

          FOREIGN TRANSACTION FEES INCURRED THIS CYCLE                                                                       3.06



                                                                                                                                                             93526-0814_05
                                                                                                                                                                    BM1FRT
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                                                USAA FEDERAL SAVINGS BANK
                                                            10750 McDermott Freeway
                                                           San Antonio, TX 78288-0544
                                                                  800-531-8722


PLEASE EXAMINE THIS STATEMENT AT ONCE. IF NO ERROR IS REPORTED IN 60 DAYS, THIS STATEMENT WILL BE CONSIDERED
CORRECT. ALL ITEMS ARE CREDITED SUBJECT TO PAYMENT.

In Case of Errors or Questions About Your Electronic Transfers, Telephone us or Write us at the address and number
listed at the top of this page as soon as you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we
sent you the FIRST statement on which the error or problem appeared.
               .    Tell us your name and account number (if any).
               .    Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
                    it is an error or why you need more information.
               .    Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will
credit your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to
complete our investigation.


             THIS FORM IS PROVIDED TO HELP YOU RECONCILE THIS STATEMENT BALANCE TO YOUR CHECKBOOK BALANCE.


    CHECKS OUTSTANDING
  (Those written which have not                                                            BANK BALANCE
   been charged to your account)

    CHECK#               AMOUNT                                (1) BALANCE THIS STATEMENT
                                                                   (SHOWN ON FRONT PAGE)                        $


                                                               (2) ADD DEPOSITS NOT SHOWN ON
                                                                   THIS STATEMENT (IF ANY)                      +


                                                               (3) SUBTOTAL                                     $


                                                               (4) SUBTRACT TOTAL OF CHECKS                     -
                                                                   OUTSTANDING (IF ANY)

                                                               (5) ADJUSTED BANK BALANCE                        $




                                                                                           YOUR BALANCE


                                                               (6) CHECK REGISTER BALANCE
                                                                                                                $

                                                               (7) ADD CREDITS WHICH APPEAR
                                                                   ON THIS STATEMENT THAT HAVE
                                                                  NOT BEEN RECORDED IN YOUR                     +                     *
                                                                  REGISTER (IF ANY)

                                                               (8) ADD INTEREST CREDITED TO                     +                     *
                                                                   YOUR ACCOUNT (IF ANY)


                                                               (9) SUBTRACT OTHER CHARGES                       -                     *
                                                                   (IF ANY)

                                                              (10) ADJUSTED CHECK REGISTER                  $
   TOTAL             $                                             BALANCE
                                                                    * Be sure to record in your check register.


                              Line 5 and Line 10 should now agree. If not, check the following items in your register:

                                                       -Are all deposits accounted for?
                                                     -Are all amounts entered correctly?
                                                -Are all automatic transactions accounted for?
                                                   -Are all additions and subtractions accurate?

          TERMS AND CONDITIONS: All transactions are subject to the USAA Federal Savings Bank Depository Agreement.
                                                                                                                                          126405-0714
                                                                                                                                             BM1BCK
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             USAA
             FEDERAL
             SAVINGS
             BANK




                                                                  PAGE        2
     BRYANT E SEWALL
     PO BOX 289
     LITTLE ELM TX 75068-0289


                                                            0
                                                           11

          ACCOUNT NUMBER                ACCOUNT TYPE              STATEMENT PERIOD

           01846-4521-2            USAA CLASSIC CHECKING         0 9 / 1 1 / 1 9 - 10/11/19



      ACCOUNT BALANCE SUMMARY
           DATE..........BALANCE   DATE..........BALANCE
           09/11        2,995.88   10/02        1,601.38
           09/16        2,023.89   10/10        1,591.39
           09/18        1,502.30   10/11        1,599.93
           09/30        1,931.13




       * * * * * * * *   INTEREST PAID INFORMATION   * * * * * * * *
       YOUR INTEREST PAID WAS CALCULATED USING YOUR DAILY BALANCE FOR
      30 DAYS FOR AN ANNUAL PERCENTAGE YIELD EARNED OF 0.01%. THIS
       BRINGS YOUR YTD INTEREST PAID TO        0.30.




                                                                                       105846-0814_06
                                                                                               BMFR1A
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